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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




William S. Husel,

                                   Plaintiff(s),
v.                                                     Case No. 2:19−cv−12478−GCS−DRG
                                                       Hon. George Caram Steeh
Trinity Health Corporation, et
al.,

                                   Defendant(s),



                                 NOTICE OF MOTION HEARING

   You are hereby notified to appear before District Judge George Caram Steeh at the United
States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
Michigan. Please report to Room 251. The following motion(s) are scheduled for hearing:

                Motion for Preliminary Injunction − #4

      • RESPONSE DUE: September 16, 2019

      • REPLY DUE: September 30, 2019

      • MOTION HEARING: October 8, 2019 at 10:00 AM

   ADDITIONAL INFORMATION: Plaintiff must serve this Notice of Hearing upon the
defendants and/or their attorneys. Courtesy copies of pleadings required ONLY if they exceed
20 pages (including exhibits) and must be securely fastened.



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/M. Beauchemin
                                                   Case Manager

Dated: August 29, 2019
